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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                  Plaintiff,

                             v.                             CIVIL ACTION
                                                            NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                          Defendant.



  RESPONSE TO PLAINTIFF’S MAY 25, 2021 STATUS REPORT BY SECRETARY
 WILLIAM FRANCIS GALVIN, MICHELLE TASSINARI, AND DEBRA O’MALLEY

       Defendants Secretary William Francis Galvin, Michelle Tassinari, and Debra O’Malley

hereby submit this response to Plaintiff’s status report of May 25, 2021.

       1.      Defendants object to Plaintiff’s proposal for “hybrid” representation with

Attorneys Cooper and Harder in which Plaintiff would have an attorney sign pleadings but would

otherwise retain the ability to speak in court. “A party has a right to represent himself or to be

represented by an attorney, but he cannot have it both ways.” McCulloch v. Velez, 364 F.3d 1, 5

(1st Cir. 2004). As the First Circuit has emphasized, there “no right to hybrid representation” in

a federal court proceeding. United States v. Nivica, 887 F.2d 1110, 1121 (1st Cir. 1989).

Although a district court has the discretion to allow such a hybrid arrangement, such “largesse is


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… to be dispensed sparingly.” McCulloch, 364 F.3d at 5. As the First Circuit has cautioned,

such unusual arrangements in which a party exercises rights of self-representation tend to

increase the “burden on the trial judge” and “test the limits of the court’s patience and ingenuity”

in addressing the pro se party’s “unorthodox courtroom tactics.” Nivica, 887 F.2d at 1122.

Plaintiff’s proposal, to have an attorney write and sign pleadings while Plaintiff retains the

ability to speak without any of the professional ethical restraints that would apply to his counsel,

is an invitation to protracted, disorderly, and fractious proceedings and will not bring the

regularity to this case that this Court sought to promote when encouraging Plaintiff to retain

counsel. Plaintiff cannot have it both ways. Either his attorney(s) will represent him or not.

Any hybrid representation will serve only to delay proceedings and prejudice the Defendants.

       2.      To the extent that the Court plans to appoint counsel for Plaintiff at taxpayers’

expense, Defendants object for two reasons. First, Plaintiff reports that he has retained a

California-based attorney, Charles Harder, Esq., to represent him in this case. As Plaintiff has

now hired his own attorney at his own expense, there is no longer any need for the Court to

appoint a second attorney to appear on Plaintiff’s behalf as well. Second, Defendants note that

the Court is not empowered to appoint counsel for a pro se party in a civil case absent a showing

of indigency. “There is no absolute constitutional right to a free lawyer in a civil case.”

DesRosiers v. Moran, 949 F.2d 15, 23 (1st Cir. 1991). While the Court is empowered to request

that an attorney represent any person unable to afford counsel under 28 U.S.C. § 1915(e)(1), a

plaintiff seeking appointment of counsel under Section 1915(e)(1) must minimally demonstrate,

among other things, that he is indigent. See Tyree v. Massachusetts, 2008 WL 427293, at *2 (D.

Mass. Feb. 17, 2008) (Wolf, J.). Plaintiff has not made any such showing. Although Plaintiff

stated that he has had difficulty retaining an attorney because he “was using Twitter to raise



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money,” (May 20, 2021 Transcript at 122),1 this is a far cry from proving indigency. Plaintiff is

still actively raising funds for his political campaigns on his personal website and on other social

media platforms.2 FEC filings show that he contributed more than $1 million of his own money

to his campaign in 2020 and had more than $58,000 cash in his campaign account at the end of

2020.3 Minimally, the Court should require Plaintiff to demonstrate his indigency before

appointing counsel for him at public expense.

       3.      Plaintiff’s indication that he will commence discovery and promulgate a schedule

for completing discovery is premature and without basis. Defendants will object to any

discovery propounded by Plaintiff at this stage. Defendants submit that the Court must first

decide motions to dismiss – particularly on the money damages claims against the Defendants in

their individual capacities and on the Eleventh Amendment immunity issue raised by the

Secretary’s motion to dismiss under Rule 12(b)(1) – before discovery may commence. As will

be discussed in a supplemental memorandum in support of Defendants’ motion to dismiss that

Defendants intend to file, the Court must adjudicate the Eleventh Amendment immunity issue

before discovery into the First Amendment merits issue may begin.4

       4.      Defendants also request that the Court rule on the individual Defendants’ motion

to dismiss. The Court indicated that it was likely to dismiss all claims against the Defendants in

their individual capacities. See May 20, 2021 Transcript at 12-13 (“The plaintiff has sued the


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        Contrary to what he told the Court about the reason why he had yet to retain an attorney,
Plaintiff has frequently stated on his social media posts that he chose to proceed pro se as a
political choice, not a financial one.
2
        See, e.g., https://vashiva.com/the-lawsuit-against-government-twitter-that-big-media-
will-never-cover/; https://vashiva.com/contribute/?utm_source=firstam-
lawsuit&utm_medium=web&utm_campaign=contrib; https://vashiva.com/first-amendment-
twitter-galvin-lawsuit/; https://www.facebook.com/va.shiva.ayyadurai/ (May 26, 2021 post).
3
        See https://www.fec.gov/data/candidate/S8MA00268/?cycle=2020&election_full=false.
4
        Similarly, the Court must also resolve the individual Defendants’ assertion of qualified
immunity before exposing them to the burdens of discovery.
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human beings who are defendants in their individual, their personal capacities and seeks money

damages from them. In my present view, those claims have to be dismissed.”). The Court

should not delay in doing so, because such delay will impose needless burden on these public

employees who should no longer be parties in this case.

        5.      Defendants agree that a status conference should soon be set to discuss the issues

raised by Plaintiff’s filing.

                                              Respectfully submitted,

                                              Defendants,

                                              WILLIAM FRANCIS GALVIN, in his official and
                                              individual capacities, MICHELLE TASSINARI, in
                                              her individual capacity, and DEBRA O’MALLEY,
                                              in her individual capacity,

                                              By their attorneys,

                                              MAURA HEALEY
                                              ATTORNEY GENERAL

                                              /s/ Adam Hornstine
                                              Anne Sterman (BBO No. 650426)
                                              Adam Hornstine (BBO# 666296)
                                              Assistant Attorneys General
                                              Office of the Attorney General
                                              One Ashburton Place
                                              Boston, MA 02108
                                              617-963-2048
                                              Anne.Sterman@mass.gov
                                              Adam.Hornstine@mass.gov

Date: May 27, 2021




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                                 CERTIFICATE OF SERVICE

        I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day, May
27, 2021, served the foregoing Report, upon all parties, by electronically filing to all ECF
registered parties, and paper copies will be sent to those indicated as non-registered ECF
participants.

                                            /s/ Adam Hornstine
                                            Adam Hornstine




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